      Case 2:19-cr-00294-MTL Document 243 Filed 06/23/22 Page 1 of 3



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 6                          IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
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 9   United States of America,                           No. CR-19-00294-001-PHX-MTL
10                    Plaintiff,                         ORDER
11   v.
12   Kenneth K. Losch,
13                    Defendant.
14
15          Pending before the Court is the Government’s Motion to Preclude the Defense
16   Expert Witness. (Doc. 234.) The Government seeks to exclude Defendant’s expert
17   accountant witness, Brian Cook, on two grounds: relevance and untimely disclosure.
18   (Id.) The Court denies the motion.
19                                                  I.
20          Federal Rule of Evidence 702 governs the admission of expert testimony. This
21   rule provides:
22                     If scientific, technical, or other specialized knowledge will
                      assist the trier of fact to understand the evidence or to
23                    determine a fact in issue, a witness qualified as an expert by
                      knowledge, skill, experience, training, or education, may
24                    testify thereto in the form of an opinion or otherwise, if (1)
                      the testimony is based upon sufficient facts or data, (2) the
25                    testimony is the product of reliable principles and methods,
                      and (3) the witness has applied the principles and methods
26                    reliably to the facts of the case.
27   Fed. R. Evid. 702. Rule 702 requires expert testimony to be both “relevant and reliable.”
28   U.S. v. Vallejo, 237 F.3d 1008, 1019 (9th Cir. 2001). The relevancy hurdle is a low one
      Case 2:19-cr-00294-MTL Document 243 Filed 06/23/22 Page 2 of 3



 1   to meet; it simply requires that the evidence “logically advance a material aspect of the
 2   party’s case.” Cooper v. Brown, 510 F.3d 870, 942 (9th Cir. 2007).
 3          Furthermore, exclusion of an expert is an appropriate remedy for a discovery rule
 4   violation only where “the omission was willful and motivated by a desire to obtain a
 5   tactical advantage.” Taylor v. Illinois¸484 U.S. 400 (1988); see also    United States v.
 6   Peters, 937 F.2d 1422, 1426 (9th Cir. 1991) (holding that the district court erred in
 7   excluding testimony of forensic pathologist because no willful or blatant discovery
 8   violation occurred).
 9                                               II.
10          The Government asserts that Cook’s testimony is “minimally relevant” for a
11   number of reasons: the fact that Losch repaid an AGI account “does nothing to
12   demonstrate a lack of intent to deceive investors,” some of Cook’s conclusions deal with
13   events occurring outside of the timeframe of the indictment, and Cook only looked at
14   snippets of the bank record documents, not the entirety of the records. (Doc. 23 at 3–5.)
15   The Court finds the Government’s argument regarding unreliability to be unpersuasive
16   and unsuitable at this time. “The weakness in the underpinnings of [expert] opinions may
17   be developed upon cross-examination and such weakness goes to the weight and
18   credibility of the testimony.” Bergen v. F/V St. Patrick, 816 F.2d 345, 1352 n.5 (9th Cir.
19   1987). The Court finds that this testimony reaches the low hurdle of relevancy, and the
20   Government has failed to argue adequate facts sufficient to disqualify Cook under the
21   Rule 702 standard. See Fed. R. Evid. 702.
22          As to late disclosure, the Government asserts that Defendant untimely disclosed
23   thousands of pages of “incomplete” and previously undisclosed documents related to
24   Cook’s expert witness report. (Doc. 234 at 1.) The Government itself disclosed their
25   own “summary” accountant witness and related summary documents seventeen days
26   before trial. (Id. at 3.) Defendant asserts that the Government’s untimely disclosure was
27   the cause of Cook’s rushed opinions. (Doc. 236 at 2–3.) Moreover, the Defendant
28   argues that he did provide his rebuttal expert disclosure in December 2019, consistent


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      Case 2:19-cr-00294-MTL Document 243 Filed 06/23/22 Page 3 of 3



 1   with the Court’s scheduling order. (Id. at 3.)
 2           Here, even assuming there was an omission of some sort, the Court finds that it
 3   was not done willfully in order to gain a tactical advantage. Defendant asserts that
 4   Cook’s opinions were based “[w]ith one exception . . . [on] documents the Government
 5   produced to the defense.” (Doc. 236 at 5.) The Government contests that assertion and
 6   argues that it has been prejudiced. (Doc. 241 at 3.) But this does not appear to satisfy the
 7   extremely high burden to preclude a defense expert. “Few rights are more fundamental
 8   than that of an accused to present witnesses in his own defense.” Taylor, 484 U.S. at 408.
 9   The Court finds the Government’s proposed remedy—the severe sanction of total
10   exclusion—to be disproportionate to the alleged harm suffered by the Government.
11   Accordingly, the Court denies the Government’s motion to exclude the testimony of
12   Cook.
13                                                IV.
14           IT IS ORDERED denying the Government’s Motion to Preclude the Defense
15   Expert Witness. (Doc. 234.)
16           Dated this 23rd day of June, 2022.
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